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FSA Time Credit Assessment
Register Number:11772-090, Last Name: PATEL

U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS

--- Best Case Scenario - Conditional Pre-release Planning & Preparation Only ~------------------
All conditional days and conditional dates below are the individual's best case scenario
given the individual's FSA/FTC status and best case Second Chance Act (SCA) days as of
12-30-2024. These dates can change if there are changes to one or more of the following: the
individuals FSA risk, FSA opt-in/opt-out status, or best case SCA days.

SCA DAYS ARE NOT GUARANTEED AND REQUIRE AN INDIVIDUALIZED ASSESSMENT! THEREFORE, IF A DEFAULT
OF 365 DAYS IS REFLECTED, THIS DATE IS SUBJECT TO CHANGE BASED ON THE REQUIRED FIVE-FACTOR
REVIEW UNDER 18 USC SEC. 3621(B). AN INDIVIDUAL WHO HAS PENDING CHARGES/DETAINERS ARE NOT
ELIGIBLE FOR SCA TIME. THE FIVE-FACTOR REVIEW INVOLVES THE FOLLOWING: (1)THE RESOURCES OF THE
FACILITY CONTEMPLATED; (2) THE NATURE AND CIRCUMSTANCES OF THE OFFENSE; (3) THE HISTORY AND
CHARACTERISTICS OF THE PRISONER; (4) ANY STATEMENT BY THE COURT THAT IMPOSED THE SENTENCE:
(a) CONCERNING THE PURPOSES FOR WHICH THE SENTENCE TO IMPRISONMENT WAS DETERMINED TO BE
WARRANTED; OR (b) RECOMMENDING A TYPE OF PENAL OR CORRECTIONAL FACILITY AS APPROPRIATE; AND
(5) ANY PERTINENT POLICY STATEMENT ISSUED BY THE U.S. SENTENCING COMMISSION.
Projected Release Date: 12-12-2026
Projected Release Method: GCT REL
FSA Projected Release Date: 12-12-2025
FSA Projected Release Method: FSA REL
FSA Conditional Release Date: 12-12-2025
SCA Conditional Placement Days: N/A
SCA Conditional Placement Date: N/A
FSA Conditional Placement Days: 200
FSA Conditional Placement Date: 05-26-2025
Conditional Transition To Community Date: 05-26-2025

=-- SCA Ineligible ------9- nnn

--- Detainers
Id Lodged Org Authority
001 12-01-2020 SWI PORTAGE COUNTY SHERIFF'S OFFICE/WISCONSIN DOC

12-30-2024 (5) Assessmenti! -2143930755
Case 1:25-cv-00283

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FSA Time Credit Assessment
Register Number:11772-090, Last Name: PATEL

U.S. DEPARTMENT OF JUSTICE

FEDERAL BUREAU OF PRISONS

Register Number....: 11772-090 Responsible Facility: MCD
Inmate Name Assessment Date.....: 12-30-2024
LaSt...cceeaweaeet PATEL Period Start/Stop...: 08-17-2020 to 12-30-2024
Pirst:isaceaeswawat DHARMESH Accrued Pgm Days....: 1526
Middle........ 2008 Disallowed Pgm Days.: 70
Suffix. .....eee eet FTC Towards RRC/HC..: 160
Gender... eeeeeeeet MALE FTC Towards Release.: 365
Start Incarceration: 08-17-2020 Apply FTC to Release: Yes
Start Stop Pgm Status Pgm Days
08-17-2020 11-20-2021 accrue 460
Accrued Pgm Days...: 460
Carry Over Pgm Days: 0
Time Credit Factor.: 10
Time Credits.......: 150
Start Stop Pgm Status Pgm Days
11-20-2021 12-08-2021 disallow 18
Not in qualifying admit status.
Facility Category Assignment Start Stop
LVN ARS TRANSFER 11-19-2021 04:48 11-19-2021 04:48
B18 ARS A-ADMIT 11-19-2021 05:48 11-19-2021 11:25
OKL ARS A-BOP HLD 11-19-2021 10:25 11-22-2021 08:00
B18 ARS RELEASE 11-19-2021 11:25 11-19-2021 11:25
OKL ARS HLD REMOVE 11-22-2021 08:00 11-22-2021 08 00
A0l ARS A-ADMIT 11-22-2021 09:00 11-22-2021 15:36
AQl ARS RELEASE 11-22-2021 15:36 11-22-2021 15:36
LEW ARS A-BOP HLD 11-22-2021 15:36 12-09-2021 05:21
Start Stop Pgm Status Pgm Days
12-08-2021 02-18-2023 accrue 437
Accrued Pgm Days...: 437
Carry Over Pgm Days: 10
Time Credit Factor.: 10
Time Credits.....-+: 140
Start Stop Pgm Status Pgm Days
02-18-2023 02-22-2023 disallow 4
Not in qualifying admit status.
Facility Category Assignment Start Stop
B04 ARS A-ADMIT 02-17-2023 06:02 02-17-2023 12:35
(1) Assessment# -2143930755

12-30-2024
Case 1:25-cv-00283

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FSA Time Credit Assessment
Register Number:11772-090, Last Name: PATEL

U.S. DEPARTMENT OF JUSTICE

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FEDERAL BUREAU OF PRISONS

RBK ARS TRANSFER 02-17-2023 06:02 02-17-2023 06:02
B04 ARS RELEASE 02-17-2023 12:35 02-17-2023 12:35
LEW ARS A-BOP HLD 02-17-2023 12:35 02-21-2023 19:32
3-D ARS A-ADMIT 02-21-2023 19:32 02-21-2023 23:36
LEW ARS HLD REMOVE 02-21-2023 19:32 02-21-2023 19:32
BRO ARS A-BOP HLD 02-21-2023 23:36 02-23-2023 02:05
3-D ARS RELEASE 02-21-2023 23:36 02-21-2023 23:36
Start Stop Pgm Status Pgm Days
02-22-2023 05-18-2023 accrue 85
Accrued Pgm Days...: 85
Carry Over Pgm Days: 27
Time Credit Factor.: 10
Time Credits.......: 30
Start Stop Pgm Status Pgm Days
05-18-2023 06-14-2023 disallow 27
Not in qualifying admit status.
Facility Category Assignment Start Stop
OTV ARS TRANSFER 05-17-2023 23:11 05-17-2023 23:11
4-D ARS A-ADMIT 05-17-2023 23:11 05-18-2023 02:19
BRO ARS A-BOP HLD 05-18-2023 02:19 05-31-2023 02:46
4-D ARS RELEASE 05-18-2023 02:19 05-18-2023 02:19
BRO ARS HLD REMOVE 05-31-2023 02:46 05-31-2023 02:46
A0l ARS A-ADMIT 05-31-2023 02:46 05-31-2023 17:45
OKL ARS A-BOP HLD 05-31-2023 16:45 06-15-2023 02:38
A0l ARS RELEASE 05-31-2023 17:45 05-31-2023 17:45
Start Stop Pgm Status Pgm Days
06-14-2023 02-26-2024 accrue 257
Accrued Pgm Days...: 257
Carry Over Pgm Days: 22
Time Credit Factor.: 10
Time CreditS......-+: 90
Start Stop Pgm Status Pgm Days
02-26-2024 04-30-2024 accrue 64
Accrued Pgm Days...: 64
Carry Over Pgm Days: 9
Time Credit Factor.: 15
12-30-2024 (2) Assessment# -2143930755

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FSA Time Credit Assessment
Register Number:11772-090, Last Name: PATEL

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U.S. DEPARTMENT OF JUSTICE

FEDERAL BUREAU OF PRISONS

Time Credits.......: 30
Start Stop Pgm Status Pgm Days
04-30-2024 05-10-2024 disallow 10
In disciplinary segregation.
Facility Category Assignment Start Stop
TOM QTR Z01-048UDS 04-30-2024 12:11 05-05-2024 09:56
TOM QTR Z01-047UDS 05-05-2024 09:56 05-07-2024 10:52
TOM QTR 201-016UDS 05-07-2024 10:52 05-09-2024 08:55
Start Stop Pgm Status Pgm Days
05-10-2024 07-11-2024 accrue 62
Accrued Pgm Days...: 62
Carry Over Pgm Days: 13
Time Credit Factor.: 15
Time Credits.......: 30
Start Stop Pgm Status Pgm Days
07-11-2024 07-22-2024 disallow 11
Not in qualifying admit status.
Facility Category Assignment Start Stop
TOM ARS TRANSFER 07-10-2024 07:50 07-10-2024 07:50
9-Y ARS A-ADMIT 07-10-2024 08:50 07-10-2024 14:10
OKL ARS A-BOP HLD 07-10-2024 13:10 07-23-2024 07:30
9-Y¥ ARS RELEASE 07-10-2024 14:10 07-10-2024 14:10
Start Stop Pgm Status Pgm Days
07-22-2024 08-24-2024 accrue 33
Accrued Pgm Days...: 33
Carry Over Pgm Days: 15
Time Credit Factor.: 15
Time Credits....+-+: 15

Start Stop Pgm Status Pgm Days
08-24-2024 12-30-2024 accrue 128
Accrued Pgm Days...: 128
Carry Over Pgm Days: 18
Time Credit Factor.: 10
Time Credits.......: 40

--- FSA Assessment (s)

12-30-2024

(3)

Assessmentil -2143930755

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FSA Time Credit Assessment
Register Number:11772-090, Last Name: PATEL
U.S. DEPARTMENT OF JUSTICE

SSS SSS SSS

FEDERAL BUREAU OF PRISONS

# Start Stop Assignment Asn Start Factor
001 08-17-2020 09-14-2020 R-HI 04-28-2021 11:24 10
002 09-14-2020 03-13-2021 R-HI 04-28-2021 11:24 10
003 03-13-2021 09-09-2021 R-HI 04-28-2021 11:24 10
004 09-09-2021 03-08-2022 R-HI 04-28-2021 11:24 10
005 03-08-2022 09-04-2022 R-HI 12-26-2021 09:33 10
006 09-04-2022 03-03-2023 R-MED 06-14-2022 11:47 10
007 03-03-2023 08-30-2023 R-LW 03-01-2023 10:35 10
008 08-30-2023 02-26-2024 R-LW 03-17-2023 11:23 10
009 02-26-2024 08-24-2024 R-LW 10-05-2023 06:00 15
010 08-24-2024 02-20-2025 R-MED 07-25-2024 13:54 10
12-30-2024 (4)

Assessment -2143930755

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se 1:25-cv-00283 Documenti-1 Filed 04/28/25

SENTENCE MONITORING

cv 540*23 *
- * COMPUTATION DATA

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01-16-2025
12:47:09

03-30-1989 AGE: 39

GE 001 ;
pace AS OF 01-16-2025

REGNO..: 11772-7090 NAME: PATEL, DHARMESH

FBI NOweeerrserte? g93425VB4 DATE OF BIRTH:
ARSlisessoawereee? MCD/A-DES

UNITsseeeeeertttt : 2 GP QUARTERS. +++: ; BO8-210U
DETAINERS. ++ +see0! YES NOTIFICATIONS: NO

FSA ELIGIBILITY STATUS IS: ELIGIBLE

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURREN

HOME DETENTION ELIGIBILITY DATE..-+? 06-12-2025
FINAL STATUTORY RELEASE FOR INMATE. : 12-12-2026 VIA GCT REL
WITH APPLIED FSA CREDITS. : 365 DAY

S
THE INMATE IS PROJECTED FOR RELEASE: 12-12-2025 VIA FSA REL

RELEASE AUDIT COMPLETED ON 12-31-2024 BY DSCC

wenn nn CURRENT JUDGMENT/WARRANT NO: 010 -

0758 3:20CRO0007-001

JUDGE. as svesw ers cseeeeet tse : PETERSON

DATE SENTENCED/ PROBATION IMPOSED: 06-18-2020

DATE COMMITTED..-+++rrrrctt ttt" ot 08-17-2020

HOW COMMITTED..-++errrrrrr ttt : US DISTRICT COURT COMMITMENT
PROBATION IMPOSED... seer errr est? NO

FELONY ASSESS MISDMNR ASSESS FINES

NON-COMMITTED. : $200.00 $00.00 $00.00
RESTITUTION. ..«: PROPERTY: NO SERVICES: NO AMOUNT :
a CURRENT OBLIGATION NO: 010 -----77777
OFFENSE CODE...-: 820 COMMUNICATIONS ACT
OFF/CHG: 18:1343 WIRE FRAUD CT 1.

SENTENCE PROCEDURE..+-+errre rr’ : 3559 PLRA SENTENCE

SENTENCE IMPOSED/TIME TO SERVE. : 63 MONTHS

TERM OF SUPERVISION. .-+eererre? : 3 YEARS

CLASS OF OFFENSE..-++errrrrtct’ : CLASS C FELONY

DATE OF OFFENSE..--+-+errrrcrrt’ : 07-09-2019

GU0C2 MORE PAGES TO FOLLOW

WISCONSIN, WESTERN DISTRICT

T COMMITMENT .

costs

$00.00

$433,578.47
Case 1:25-cv-00283 Documenti-1 Filed 04/28/25 Page 7 of 10 PagelD #: 11

MCDCV 540*23 * SENTENCE MONITORING * 01-16-2025
PAGE 002 *

COMPUTATION DATA * 12:47:09
AS OF 01-16-2025

REGNO..: 11772-090 NAME: PATEL, DHARMESH

Been anne n naan nnn enn nnn CURRENT OBLIGATION NO? 020 --~---~=~ssHseeseeecenen--
OFFENSE CODE....: 160 18:1028 FRAUD IDENTITY THEFT
OFF/CHG: 18:1028A(A) (1) AGGRAVATED IDENTITY THEFT CT 2.

SENTENCE PROCEDURE.............3 3559 PLRA SENTENCE
SENTENCE IMPOSED/TIME TO SERVE.: 24 MONTHS
TERM OF SUPERVISION....... seed 1 YEARS
CLASS OF OFFENSE......... sees : CLASS C FELONY
RELATIONSHIP OF THIS OBLIGATION

TO OTHERS FOR THE OFFENDER....: CS TO OBLIG 010
DATE OF OFFENSE.......eeees weeet 01-18-2019

w------------------------ CURRENT COMPUTATION NO: 010 -------------------------"

COMPUTATION 010 WAS LAST UPDATED ON 05-01-2024 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 09-21-2020 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 010: 010 010, 010 020

DATE COMPUTATION BEGAN..........: 08-17-2020

AGGREGATED SENTENCE PROCEDURE...: AGGREGATE GROUP 800 PLRA
TOTAL TERM IN EFFECT.......20- 002 87 MONTHS

TOTAL TERM IN EFFECT CONVERTED..: 7 YEARS 3 MONTHS
AGGREGATED TERM OF SUPERVISION..: 3 YEARS

EARLIEST DATE OF OFFENSE........: 01-18-2019

JAIL CREDIT... cee eee eee eee ot FROM DATE THRU DATE

10-04-2017 10-05-2017
07-09-2019 07-10-2019
07-20-2019 07-24-2019
03-13-2020 03-13-2020

G0002 MORE PAGES TO FOLLOW
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MCDCV 540*23 * SENTENCE MONITORING * 01-16-2025

PAGE 003 * COMPUTATION DATA * 12:47:09
AS OF 01-16-2025
REGNO..: 11772-090 NAME: PATEL, DHARMESH
TOTAL PRIOR CREDIT TIME.........: 10
TOTAL INOPERATIVE TIME..........: 0
TOTAL GCT EARNED AND PROJECTED..: 329
TOTAL GCT EARNED........eeeeee0+3 154
STATUTORY RELEASE DATE PROJECTED: 12-12-2026
ELDERLY OFFENDER TWO THIRDS DATE: 06-07-2025
EXPIRATION FULL TERM DATE....... : 11-06-2027
TIME SERVED.......000- Le ceeeeeee : 4 YEARS 5 MONTHS 10 DAYS
PERCENTAGE OF FULL TERM SERVED..: 61.3
PERCENT OF STATUTORY TERM SERVED: 70.0
PROJECTED SATISFACTION DATE.....: 12-12-2025
PROJECTED SATISFACTION METHOD...: FSA REL
WITH FSA CREDITS INCLUDED...: 365

REMARKS.....-- » V/S 8/17/20 TO LVN;7-6-21 GCT UPDTD S/CST;8-4-21 GCT UPDT S/CT

05-01-24 DGCT UPDT B/TYM

G0002 MORE PAGES TO FOLLOW .
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;cDCV 540*23 *

SENTENCE MONITORING * 01-16-2025
GE 004 OF 004 *

COMPUTATION DATA * 12:47:09
AS OF 01-16-2025

REGNO..: 11772-090 NAME: PATEL, DHARMESH

DETAINER NO..: 001

DATE LODGED..: 12-01-2020

JURISDICTION.: STATE OF WISCONSIN

AUTHORITY....: PORTAGE COUNTY SHERIFF'S OFFICE/WISCONSIN DOC
CHARGES...... : #17CF500; BURGLARY, CRIMINAL DAMAGE, 18CF213; BAIL JUMPING

18CF212;CRMINAL DAMAGE, BAIL JUMPING, 19CF264; IDENTITY THEFT
BAIL JUMPING, THEFT-ALL TRIED
SENTENCE..... : 5 YEARS

$0055 NO PRIOR SENTENCE DATA EXISTS FOR THIS INMATE
11779-p a8? FE 1-1 Feibiien 0498/25, Page 10 of 10 PagelD #: 14

FSA Recidivism Risk Assessment (PATTERN 01.03.00)
Register Number:11772-090, Last Name: PATEL

U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU_OF_PRISONS

Register Number: 11772-0930 Risk Level Inmate....: R-LW

Inmate Name General Level......: R-LW (39)
Last......eee? PATEL Violent Level......: R-LW (23)
FIrst.....++0? DHARMESH Security Level Inmate: MEDIUM
Middle.......3 Security Level Facl..: MEDIUM
Suffix....... ‘ Responsible Facility.: MCD

Gender......... : MALE Start Incarceration..: 08/17/2020

PATTERN Worksheet Details
Item: Programs Completed, Value: 19

General Score: -12, Violent Score: -4

Risk Item Data
Category - Assignment - Start Stop
DRG ED COMP 08/11/2021 10:23
EDC TUTOR TNG 05/24/2021 12:30 05/24/2021 12:30
EDC TUTORING 05/12/2022 09:28 05/12/2022 09:28
EDC SHU ACE 10 12/01/2022 00:01 12/01/2022 00:01
EDC SHU ACE 12 01/01/2023 00:01 01/01/2023 00:01
EDC SHU ACE 13 01/01/2023 00:01 01/01/2023 00:01
EDC USP ASL 05/30/2023 08:17 05/30/2023 08:17
EDC USP COMM 06/23/2023 07:43 06/23/2023 07:43
EDC USP PUBSPK 06/26/2023 13:23 06/26/2023 13:23
EDC USP ANACR 06/28/2023 12:31 06/28/2023 12:31
EDC USP CBSS1 06/30/2023 14:22 06/30/2023 14:22
EDC USP ALG1 07/03/2023 08:53 07/03/2023 08:53
EDC USP ENTRE 07/05/2023 09:04 07/05/2023 09:04
EDC USP FNDMTH 07/08/2023 13:30 07/08/2023 13:30
EDC USP ASL 2 07/10/2023 11:02 07/10/2023 11:02
EDC USP STMRKT 07/10/2023 14:43 07/10/2023 14:43
EDC USP WHY 07/17/2023 11:02 07/17/2023 11:02
EDC USP BPLYOB 07/26/2023 09:25 07/26/2023 09:25
EDC USP AMREV 02/26/2024 12:00 02/26/2024 12:00 eee eee

Item; Work Programs, Value: 2

Ceneral Score: -2, Violent Score: -2

Kkisk Item Data
Category - Assignment - Start Stop
EDC JANITORIAI 04/19/2021 08:00 04/19/2021 08:00
LLC ACT WRKADV 04/01/2022 12:17 04/01/2022 12:17

Assessment Date: 12/30/2024 (1) Assessment R-2146089815

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